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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

 INTERNATIONAL PAPER                   )
 COMPANY,                              )
                                       )
       Plaintiff,                      )
                                       ) Case No. 2:23-cv-2299
 vs.                                   )
                                       )
 MEDMARC CASUALTY INSURANCE )
 COMPANY,                              )
                                       )
       Defendant.                      )
_______________________________________________________________________________

                COMPLAINT FOR DECLARATORY JUDGMENT
                         PURSUANT TO 28 U.S.C. ⸹ 2201
______________________________________________________________________________

         Plaintiff International Paper Company, by and through undersigned counsel, for its

Complaint for Declaratory Judgment Pursuant to 28 U.S.C. § 2201 against Defendant Medmarc

Casualty Insurance Company states as follows:

                                          PARTIES

         1.    International Paper Company (“IP”) is, and at all times relevant was, a New York

corporation with its principal place of business located at 6400 Poplar Avenue, Memphis, TN

38197.

         2.    Medmarc Casualty Insurance Company (“Medmarc”) is a Vermont company with

its principal place of business located at 4795 Meadow Wood Lane, Suite 335, West Chantilly,

VA 20151.
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                                  JURISDICTION AND VENUE

        3.      An actual controversy of a justiciable nature exists between IP and Medmarc. This

Court has jurisdiction under 28 U.S.C. § 2201 and 28 U.S.C. § 1332 as there is complete diversity

of citizenship between IP and Medmarc. The amount in controversy exceeds $75,000, exclusive

of interest, costs and fees.

        4.      Personal jurisdiction exists over Medmarc on the basis that, since 2006 Medmarc

has continuously, systematically, and purposefully conducted business with IP in Memphis,

Tennessee by and through Medmarc’s dealing with IP pertaining to the Champion Indemnification,

discussed more fully below.

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because Medmarc

is subject to personal jurisdiction in this judicial district and because a substantial part of the events

and activities giving rise to IP’s claim for declaratory relief occurred in this judicial district.

                                       FACTUAL HISTORY

        6.      St. Regis Corporation (“St. Regis”) was a New York Corporation with its principal

place of business located in New York.            In 1985, St. Regis was merged into Champion

International Corporation.

        7.      Champion International Corporation (“Champion”) was a New York Corporation

with its principal place of business in Stamford, Connecticut. In 2000, Champion was merged into

IP.

        8.      Dependable Insurance Group, Inc. of America (“Dependable”) was a Florida

Corporation with its primary place of business in Florida. Dependable was a wholly-owned

subsidiary of St. Regis, and then wholly owned by Champion after St. Regis was merged into

Champion.



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       9.      Riverside Group, Inc. (“Riverside”) was a Florida corporation with its principal

place of business in Florida.

       10.     On September 10, 1986, Champion and Riverside entered into a Stock Purchase

Agreement in which Riverside acquired all of the shares of stock of Dependable

(“Champion/Riverside Agreement”).       A true and correct copy of the Champion/Riverside

Agreement is attached hereto as Exhibit 1.

       11.     Section 12.1 of the Champion/Riverside Agreement imposed certain indemnity

obligations upon Champion pertaining to an Obligatory Retrocession Agreement (“Retrocession

Agreement”) by and between The Omaha Indemnity Company (“OI”) and Dependable, including

certain of Dependable’s subsidiaries and related entities.     A true and correct copy of the

Retrocession Agreement is attached hereto as Exhibit 2.

       12.     The Retrocession Agreement became effective on September 1, 1983, and

pertained to the reinsurance obligations of OI for the benefit of Dependable. In the Retrocession

Agreement, OI agreed to reinsure Dependable for liabilities arising out of any and all policies,

certificates, contracts, etc. produced or underwritten by the following entities: Frederick Stiff,

National Treaty Services, Atlantic International Management, Ltd., Falcon Brokerage Services,

Frederick Reinsurance Co., W.W.J. Hazeltine and W. Hazeltine Associates (collectively the

“Reinsured Liability Producers”).

       13.     The Retrocession Agreement further restricted the obligations of OI under the

Retrocession Agreement to policies bound, attaching, or renewed during the term of January 1,

1981 to July 1983.

       14.     OI’s financial obligations under the Retrocession Agreement were modified by an

arbitration decision in 1988.



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       15.      Following the Champion/Riverside Agreement, Champion and Riverside executed

several supplemental indemnification agreements. Pertinent to the dispute by and between IP and

Medmarc at this time is only the First Supplemental Indemnification Agreement (“First

Supplemental Agreement”) entered into on September 30, 1987, a true and correct copy of which

is attached hereto as Exhibit 3.

       16.      The First Supplemental Agreement pertained to certain indemnity obligations of

Champion concerning certain reinsurance agreements entered into by Dependable and not

addressed in the Retrocession Agreement.       Specifically, the First Supplemental Agreement

required Champion to indemnify Riverside with respect to programs identified as the Cravens

Dargan Programs and Other Assumed Business Programs (collectively, “The Programs”).

       17.      On June 16, 1995, Riverside and Medmarc entered into a Stock Purchase

Agreement, whereby Medmarc acquired Dependable (“Riverside/Medmarc Agreement”). A true

and correct copy of the Riverside/Medmarc Agreement is attached hereto as Exhibit 4.

       18.      Under Section 9.7 of the Riverside/Medmarc Agreement, Medmarc was to receive

written confirmation “from Champion that the Champion indemnification…will inure to the

benefit of [Medmarc].” Section 1.4(c) of the Riverside/Medmarc Agreement defined “Champion

Indemnification” to be “collectively the indemnification provided to Riverside pursuant to that

[Champion/Riverside Agreement] as supplemented…”

       19.      Champion consented to the assignment of certain indemnities pertaining to it and

Riverside in correspondence dated May 4, 1995, a true and correct copy of which is attached hereto

as Exhibit 5.




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        20.     On September 22, 1995, a Written Assignment Agreement (“Written Assignment”)

was executed between Champion, Riverside, Dependable, and Medmarc. A true and correct copy

of the Written Assignment is attached hereto as Exhibit 6.

        21.     Since IP relocated its headquarters from Stamford, Connecticut to Memphis,

Tennessee in 2006, Medmarc has continuously, systematically and purposefully tendered to IP

obligations which Medmarc claimed were owed to it under the “Champion Indemnification.1”

                                       CAUSE OF ACTION

                      COUNT I - CLAIM FOR DECLARATORY RELIEF

        22.     The foregoing allegations of the Complaint are incorporated herein by reference as

if specifically set forth herein.

        23.     Dependable allegedly issued an umbrella policy of insurance to a defunct Texas

Corporation known as Payne & Keller for the year March 1, 1976 - March 1, 1977 (“Umbrella

Policy”). The Umbrella Policy is alleged to provide Five Million Dollars ($5,000,000) in coverage

to Payne & Keller.

        24.     Payne & Keller and certain corporate entities related to it are dissolved entities that

may have been insulation contractors allegedly using, among other things, asbestos containing

materials.

        25.     As Payne & Keller is a dissolved entity, on August 27, 2021, and as clarified on

September 30, 2021, Peter D. Protopapas was appointed by the South Carolina Court of Common



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        Section 1.4(c) of the Riverside/Medmarc Agreement defines “Champion Indemnification”
as “collectively the indemnification provided to Riverside pursuant to [the Champion/Riverside
Agreement], as supplemented on September 30, 1987, October 13, 1987, and February 23, 1988,
by and between Champion . . . and Riverside . . ., along with the irrevocable Letter of Credit No.
662-258-92200 . . . issued by The Sanwa Bank Limited in favor of [Dependable Insurance
Company, Inc.] on April 4, 1988, as subsequently amended . . . “ Ex. 4, Riverside/Medmarc
Agreement, § 1.4(c).
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Pleas, For the Fifth Judicial Circuit as the “Receiver” for Payne & Keller. True and correct copies

of the Court’s Orders are attached hereto as Exhibits 7 and 8.

       26.     On November 23, 2021, the Receiver filed suit against Medmarc and multiple other

insurers in the South Carolina Court of Common Pleas for the Fifth Judicial District, alleging

breach of contract and seeking a declaratory judgment. The claim against Medmarc pertains to

the alleged Umbrella Policy. A true and correct copy of the lawsuit filed by the Receiver is

attached hereto as Exhibit 9.

       27.     Payne & Keller and/or the Receiver have been named as defendants in certain

asbestos personal injury lawsuits in the South Carolina Court of Common Pleas.

       28.     Beginning in January of 2022 and continuing since that time, Medmarc has

attempted to tender to IP the defense of the action filed by the Receiver and the asbestos personal

injury actions in South Carolina claiming that, to the extent that the Umbrella Policy may exist,

defense and indemnity is owed by IP to Medmarc according to the terms of the Champion

Indemnification.

       29.     There is no basis pursuant to the Champion Indemnification for IP to defend or

indemnify Medmarc as to any claim against Medmarc with respect to the Umbrella Policy or any

Dependable policy of insurance allegedly issued to Payne & Keller. Neither the Retrocession

Agreement nor the First Supplemental Agreement pertain to the alleged Umbrella Policy. Any

claim by the Receiver asserted against Medmarc does not arise out of policies procured by the

Reinsured Liability Producers, and/or does not pertain to a policy issued, renewed or bound

between January 1, 1981 to July 20, 1983. And, any claim by the receiver against Medmarc does

not arise from the The Programs identified in the First Supplemental Agreement. Accordingly,




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there is no contractual obligation or duty otherwise requiring IP to defend or indemnify Medmarc

with respect to any policy that Dependable may have issued to Payne & Keller.

       30.    In pertinent part, the Champion/Riverside Agreement states:

                                         ARTICLE XII

                12.1 Omaha Indemnity. [Champion] agrees to pay to [Riverside] fifty
       (50%) percent, until [Champion] shall have paid $5,000,000 pursuant to the Section
       12.1, and one hundred (100%) percent thereafter of any and all Losses incurred
       (whether or not reserved against) by [Dependable] and the Insurers subsequent to
       September 1, 1983: (i) resulting from the failure of [OI] to perform its obligations
       under that certain Obligatory Retrocession Agreement (the “retrocession
       agreement”) effective September 1, 1983 by and among [Dependable], the Insurers,
       Dependable Reinsurance Company, Ltd. (“Dependable Reinsurance”) and OI; and
       (ii) any matter defined as “Covered Losses” in Article I of the Retrocession
       Agreement to the extent indemnity is not provided therefore in the Retrocession
       Agreement. [Champion] shall make payments to [Riverside] under clause (i) of the
       first sentence of this Section 12.1 within ten days after notice from [Riverside] that
       OI has failed to make any payments to the [Dependable] and the Insurer under the
       Retrocession Agreement subsequent to the Closing Date. [Champion] shall make
       payments to [Riverside] under clause (ii) of the first sentence of this Section 12.1
       within the period that would be contemplated by the Retrocession Agreement if
       indemnity were proved for therein…

Ex. 1, Champion/Riverside Agreement, § 12.1.

       31.    In pertinent part, the Retrocession Agreement states:

                                           ARTICLE I

       BUSINESS AND TERRITORY COVERED

               Subject to the provisions of Article III and Article IV, [OI] shall indemnify
       the Dependable Subsidiaries and their respective successors and assigns
       (collectively, “Reinsured Parties”), in respect of the liability which may accrue to
       any of them under any and all insurance and reinsurance agreements, policies,
       bonds, binders, certificates, contracts, so-called treaty agreements, cover notes, co-
       insurance or co-indemnity agreements or other evidences of liability (hereinafter
       collectively referred to as “Policies”), oral or written, now, heretofore or hereafter
       in force anywhere in the world, produced, underwritten, arranged or contracted for
       on behalf of any of them by any one or more of:

       (A)    Frederick F. Stiff, and any of the entities with which he is affiliated,
       including, but not limited to, National Treaty Services, Inc., Atlantic International

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       Management, Ltd., Falcon Brokerage Services, Ltd. and Frederick Reinsurance
       Company, Ltd.; and

       (B)    W.W.J. Hazeltine, and any of the entities with which he is affiliated,
       including but not limited to W. Hazeltine Associates, Ltd.

       (collectively, the “Covered Business”).

                                                     ***

                                          ARTICLE III

       COMMENCEMENT AND TERMINATION

                                                     ***

              [OI] shall be only liable with respect to any and all Policies bound, attaching
       or renewed (including Policies with retroactive inception dates) by or on behalf of
       any Reinsured Party during the term 12:01 A.M., Eastern Standard Time, January
       1, 1981 to 12:01 A.M., Eastern Daylight Time, July 20, 1983.

Ex. 2, Retrocession Agreement, Art. I, III. The Umbrella Policy does not fall within either the

definition of Covered Business or the defined time period.

       32.            Furthermore, the alleged liability and indemnification is not covered by the

First Supplemental Agreement which states:

       2. Cravens Dargan. Seller agrees to pay Buyer fifty (50%) percent, until Seller
       shall have paid $5,431.120 pursuant to this Section 2 and one hundred (100%)
       percent thereafter, of any and all payments made (whether or not reserved against)
       by the Company and Insurers subsequent to the Closing Date, in respect of Losses
       arising out of or relating to the Cravens Dargan Programs.

                                                ***
       3. Other Assumed Business. Seller agrees to pay Buyer fifty (50%) percent, until
       Seller shall have paid $467,861.50 pursuant to this section 3 and one hundred
       (100%) percent thereafter, of any and all payments made (whether or not reserved
       against) by the Company and the Insurers subsequent to the Closing Date, in respect
       of Losses arising out of or relating to the Other Assumed Business Programs.

Ex. 3, First Supplemental Agreement, §§ 2, 3. The Umbrella Policy does not fall within the

definition of either the Cravens Dargan Program or Other Assumed Business Programs.



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       33.     Notwithstanding the foregoing terms and conditions of the pertinent agreements,

Medmarc demands that IP defend and indemnify it with respect to the claims of the Receiver

against it and all asbestos personal injury claims pertaining to Payne & Keller.

       34.     No other contractual term or obligation exists that would require IP to defend,

indemnify or otherwise reimburse Medmarc with respect to the Umbrella Policy or any insurance

policy that Dependable may have issued to Payne & Keller.

       35.     To the extent that the Umbrella Policy and/or any other Dependable insurance

policy may exist and was issued to Payne & Keller, any insurance obligation is solely the

responsibility of Medmarc as the successor to Dependable.

       36.     A justiciable controversy, therefore, exists as to whether IP has any obligation to

Medmarc under the Champion Indemnification with respect to the Umbrella Policy or any

insurance policy Dependable may have issued to Payne & Keller.

       37.     A Declaratory Judgment is necessary and appropriate so that IP’s obligations and

rights to Medmarc under the Champion Indemnification and any and all other pertinent contractual

terms and obligations are determined concerning any and all insurance policies that may have been

issued to Payne & Keller by Dependable.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff International Paper Company prays

as follows:

       1.      The Court issue proper process requiring Defendant to respond to this Complaint

within the time required by law;

       2.      The Court issue a declaratory judgment that neither the Champion Indemnificiation

nor any other contractual obligation or term require IP to defend, indemnify or otherwise reimburse




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Medmarc with respect to the Umbrella Policy or any insurance policy that Dependable may have

issued to Payne & Keller;

       3.     The Court issues a declaratory judgment that the Umbrella Policy and/or any other

Dependable insurance policy that may have been issued to Payne & Keller, is solely the

responsibility of Medmarc as the successor to Dependable;

       4.     IP be awarded all fees, costs and expenses incurred as a result of filing this action;

and

       5.     IP be awarded any and all other relief that this Court determines to be just, equitable

and proper.

       Dated: May 11, 2023

                                             Respectfully submitted,

                                             s/ Robert F. Tom
                                             Robert F. Tom (#26636)
                                             Kelly L Hagy (#36524)
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